Case No. 1:25-cv-00918-RTG        Document 1-1         filed 03/21/25   USDC Colorado          pg 1
                                                                                    FILED
                                         of 31
                                                                         UNITED STATES DISTRICT COURT
                                                                              DENVER, COLORADO
                                                                                 8:24 am, Mar 21, 2025

                                                                           JEFFREY P. COLWELL, CLERK

        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                               COLORADO


    •   List of Defendants as continued from “COMPLAINT’ page.

 Attorney Jonathan A Marks & Alan S Marks (Estate)

 Candlewyck HOA, Worth Ross Mgmt., Hammersmith Mgmt.

 Adolfson and Peterson & Front Range Roofing Syst

 Attorney Amy Twohey & Zupkus & Angell P.C.

 Attorney Adam P O’Brien & Wells, Anderson & Race, LLC

 Attorney Christy N. Redmond & Wells, Anderson & Race, LLC

 Attorney David O. Hansen & Kumpf, Charsley & Hansen P.C.

 Attorney Victor L. Sulzer & Tschetter & Sulzer P.C.

 Attorney Jonathon Carlson & Tschetter & Sulzer P.C.


    •   Defendants’ contact information as continued from “COMPLAINT’ page.

 * Attorney Jonathan A Marks & Alan S Marks (Estate)
 3400 Walnut St., Suite 700, Denver, CO 80205
 Phone: 303-892-7364 Email: jonathan.marks@davisgraham.com

 * Candlewyck Condominium Association
 7865 E. Mississippi Ave, Denver, CO 80247
 Phone: 303-395-2377 Email: Not Provided

 * Worth Ross Management
 1001 Bannock St. Suite 208, Denver, CO 80204
 Phone: 720-588-3921 Email: customercare@wrmcinc.com

 * Hammersmith Management
 23 Inverness Way E #200, Englewood, CO 80112
 Phone: 303-980-0700 - Email: Not Provided


 Adolfson and Peterson
 797 Ventura St., Aurora, CO 80011
 Phone: 303-363-7101 Email: info@ap.com


                                            1 of 31
Case No. 1:25-cv-00918-RTG      Document 1-1        filed 03/21/25   USDC Colorado   pg 2
                                       of 31




 *Front Range Roofing Systems
 222 13th Ave, Greeley, CO 80631
 Phone: 970-353-2322 Email: Not Provided

 * Atty. Amy Twohey
 9200 E Mineral Ave. Suite 450, Englewood, CO 80112
 Phone: 720-921-2070 – Email: info@johnsonbakken.com

 Zupkus Angell P.C.
 1415 Park Ave. W Denver, CO 80205
 Phone: 303-894-8948 - Email: mkhan@aslaw.com


 *Atty. Adam P O’Brien
 1700 Broadway Suite 900, Denver, CO 80290
 Phone: 303-813-6536 - Email: aobrien@thompsoncoe.com

 Thompson, Coe, Cousins, & Irons, LLP
 (formally known as: Wells, Anderson & Race, LLC)
 1700 Broadway Suite 900, Denver, CO 80290
 Phone: 303-813-1212 - Email: aobrien@thompsoncoe.com

 Atty. Christy Zahradnik-Mitchell
 (formally known as Christy N. Redmond)
 1700 Broadway Suite 900, Denver, CO 80290
 Phone: 303-813-1212 - Email: czahradnik-Mitchell@thompsoncoe.com



 *Atty. David O. Hansen
 9565 S. Kingston Ct. Suite 100, Englewood, CO 80112
 Phone: 720-473-8000 – Email: dhansen@kch-law.com

 Kumpf, Charsley & Hansen P.C.
 9565 S. Kingston Ct. Suite 100, Englewood, CO 80112
 Phone: 720-473-8000 – Email: info@kch-law.com



 *Atty. Jonathon Carlson
 3600 S. Yosemite St #828, Denver, CO 80237
 Phone: 303-699-3484 - Email: jonathon@thslawfirm.com

 Tschetter & Sulzer P.C.
 3600 S. Yosemite St #828, Denver, CO 80237
 Phone: 303-699-3484 - Email: jonathon@thslawfirm.com


                                          2 of 31
Case No. 1:25-cv-00918-RTG          Document 1-1        filed 03/21/25   USDC Colorado       pg 3
                                           of 31




 #1
                                     CLAIM FOR RELIEF

                                  Warranty of Habitability
                            Breach of Lease Agreement/Contract
                          “Everyone deserves safe and healthy housing.”
 (Plaintiffs’ Could Not Fairly Litigate These Claims - Our Due Process Rights Were Violated)

      1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

         Refiled Complaint.

      2. Defendants, Alan S Marks and Atty. Jonathan A Marks knew or should have

         known that, by law, every residential lease in Colorado includes a “Warranty of

         Habitability”.

      3. Defendant, Atty. Jonathan A Marks honored new verbal lease agreement between

         his father, Defendant, Alan S Marks and Plaintiffs upon Alan’s death in July

         2022.

      4. Defendants, Alan S Marks and Atty. Jonathan A Marks breached by refusing to

         display responsibility for the safety and health of Plaintiffs in regard to the rented

         condo unit.

      5. Defendants, Alan S Marks and Atty. Jonathan A Marks breached by allowing

         ongoing conditions to affect the rented condo unit’s habitability and the situation

         interfered with Plaintiffs’ life, health, and safety.

      6. Plaintiffs notified both Defendants, Alan S Marks and Atty. Jonathan A Marks

         individually (both electronically, in person and by phone) of the concerns within

         the condo unit. Plaintiffs strived to form a successful mediation with Defendant,

         Alan S Marks and a professional mediator to discuss rectification of Defendant’s

         breach of Warranty of Habitability.
                                              3 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1       filed 03/21/25   USDC Colorado         pg 4
                                          of 31




      7. Defendants, Alan S Marks and Atty. Jonathan A Marks breached by not

         responding to known and needed repairs within the 24hrs to 96hrs window as

         specified by Colorado’s Warranty of Habitability Law.

      8. Defendants, Alan S Marks and Atty. Jonathan A Marks’ acts and omission

         breached the lease agreement/contract with Plaintiffs and therefore, caused

         Plaintiffs to incur damages, harms, losses, and irreversible injuries pursuant to

         Colorado’s Warranty of Habitability Law.

      9. Defendants’ breach against Plaintiffs continues to exist.


 #2                               CLAIM FOR RELIEF

                      Retaliation in Launching Multiple Evictions
                               COLO. REV. STAT. § 38-12-509

      1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

         Refiled Complaint.

      2. Plaintiffs were engaging in the protected activities of Colorado’s landlord –

         tenant laws as we attempted to ensue mediations. This was in order to obtain fair

         and quality housing. Plaintiffs identify the actions of Defendants Alan S Marks

         and Atty. Jonathan A Marks as retaliation.

      3. Plaintiffs addressed both Defendants, Alan S Marks and Jonathan A Marks via

         email, text messages, and by phone to address needed repairs on numerous

         occasions.

      4. Plaintiffs contacted Denver Dept. of Public Health and Environment (Tammy

         Geroninmus) on April 27, 2022. Plaintiffs also contacted Sara Elletson and

         worked with Christian Cunningham in April & May 2022, both at Community

         Mediation Concepts, who reached out to Defendant, Alan S Marks to offer their
                                         4 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1        filed 03/21/25   USDC Colorado        pg 5
                                        of 31




       assistance, as well as Mary Bui at Community Economic Defense Project.

    5. There were many attempts to reach Defendant Atty. Jonathan A Marks from

       September 2022 thru September 2023. offering assistance within their roles and

       scope of practice in hopes of helping to resolve the matters at hand in this claim.

    6. Defendants, Alan S Marks and Atty. Jonathan A Marks’ acts of intimidation and

       threats were motivated by Plaintiffs exercising of constitutionally protected

       rights.

    7. Defendants, Alan S Marks’ and Atty. Jonathan A Marks’ actions caused Plaintiffs

       to suffer injuries that would deter a person of ordinary firmness from continuing

       to engage in such protected activity.

    8. Defendants, Alan S Marks’ and Atty. Jonathan A Marks’ conduct violated clearly

       established rights belonging to Plaintiffs of which reasonable persons in

       Defendants position knew or should have known better than to do.

    9. Defendants, Alan S Marks and Atty. Jonathan A Marks engaged in the

       aforementioned conduct of this Complaint intentionally, knowingly, willfully,

       wantonly maliciously, and in reckless disregard of Plaintiffs’ protected rights.

    10. Defendants, Alan S Marks’ and Atty. Jonathan A Marks’ conduct proximately

       caused significant injuries, damages and irreversible losses to Plaintiffs.

       #3

                                  CLAIM FOR RELIEF

                                        Trespass

    1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

       Refiled Complaint.


                                           5 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1       filed 03/21/25   USDC Colorado       pg 6
                                          of 31




      2. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

         Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing, as named in

         this Complaint either in part or in whole, caused or was negligent to allow a

         physical intrusion of toxic fumes into Plaintiffs’ condominium unit – whether in

         part or in whole.

      3. Plaintiffs had legal possession of the rented condo property from June 2021

         through September 2023.

      4. Defendants, Front Range Roofing Systems, LLC and Adolfson & Peterson gave no

         warning to Plaintiffs of the toxic intrusion they caused.

      5. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

         Ross Management, and Hammersmith Management, gave no warning for the

         poisonous intrusion of the toxic fumes (methane & H2S) they allowed based on

         their constructive and actual knowledge.

      6. Evidence proves that the intrusion of the toxic fume’s physical matter and the

         presence of matter from the poisonous gases (weighing heavier than air), which

         were constantly emitting from the broken vent pipe within the wall into the

         condo unit. caused Plaintiffs’ pain and sufferings, injuries, harms, and damages

         as our medical records have specified.

      7. Evidence have proven that Defendants Atty. Jonathan Marks and Alan Marks,

         Candlewyck HOA, Worth Ross Management, and Hammersmith Management

         knowledge of the toxic trespass is continuing for over 2 years, until today and

         even prior to Plaintiffs residing within the condo unit (since 2019).

 #4


                                            6 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1        filed 03/21/25   USDC Colorado        pg 7
                                        of 31




                                  CLAIM FOR RELIEF

                                       Negligence

    1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

       Refiled Complaint.

    2. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

       Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing, whether in

       part or in whole, owed Plaintiffs a duty to exercise reasonable care in the

       performance and maintenance of the roof repairs and while maintaining safe

       premises within the condo unit.

    3. Defendants Marks, Candlewyck HOA, Worth Ross, Hammersmith, Adolfson and

       Peterson & Front Range Roofing, whether in part or in whole, owed Plaintiffs a

       duty to exercise reasonable care in maintaining proper venting of toxic fumes,

       repair of the toxic water and waste running through the pipelines and into the

       unit.

    4. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

       Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing, whether in

       part or in whole, owed Plaintiffs a duty to exercise reasonable care to repair the

       broken/damaged vent pipe within the wall of the unit which evidence have

       proven was releasing toxic sewer gas fumes into the condo unit since 2019.

    5. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

       Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing, whether in

       part or in whole, breached their aforementioned duties by negligently, carelessly,

       recklessly, and intentionally failing to properly repair the roof as well as the vent


                                           7 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1        filed 03/21/25   USDC Colorado        pg 8
                                          of 31




         pipe that was broken/damaged within the wall of the unit during the roofing

         reconstruction and repair (based on their constructive and actual knowledge) as

         evidence have proven.

      6. The above negligence caused by the named Defendants above, either in part or in

         whole, directly and proximately caused Plaintiffs to incur pain and suffering,

         injuries, damages, harm, and losses.

      7. The above-named Defendants’ negligence continued for the 2 years that Plaintiffs

         resided within the condo unit and even since 2019 before Plaintiffs moved in.

 #5

                                    CLAIM FOR RELIEF

                               Nuisance/Quiet Enjoyment

      1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

         Refiled Complaint.

      2. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

         Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing, whether in

         part or in whole, substantially and unreasonably allowed toxic Methane & H2S

         sewer gases to invade Plaintiffs’ space of interest in the rental property as well as

         the enjoyment of it, rather than being safely vented, maintained, and properly

         functional.

      3. The Defendants named above, whether in part or in whole, either created or was

         negligent to allow the physical condition of the toxic fumes to infringe upon

         Plaintiffs’ health, privacy and enjoyment within the condo unit.

      4. The above-named Defendants, whether in part or in whole, violated Plaintiffs’


                                             8 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1        filed 03/21/25   USDC Colorado        pg 9
                                          of 31




         rights by allowing the continual entry of noxious fumes from the broken vent pipe

         and from the contaminated water running into the tubs and basins within the

         condo unit as proven by an expert industrial/environmental hygienist .




      5. Defendants Atty. Jonathan Marks and Alan Marks, Candlewyck HOA, Worth

         Ross, Hammersmith, Adolfson and Peterson & Front Range Roofing’s violations,

         either in part or in whole, constituted a nuisance, which caused Plaintiffs to incur

         pain and suffering, injuries, damages, harms, and losses.



      6. The above-named Defendants’ nuisance has continued for over 2 year (since 2019

         until the present).

 #6
                                      CLAIM FOR RELIEF

                                   Statutory Premises Liability
                                        C.R.S. § 13-21-115


      1. Plaintiffs incorporate all other paragraphs of this claim for the purpose of this

         Refiled Complaint.

      2. Defendants, Candlewyck Condominium Association (HOA) own the property as

         defined by C.R.S. § 13-21-115(1) and as indicated within Candlewyck’s HOA

         Declaration & Bylaws.

      3. Candlewyck HOA has possession of the common areas of the property. It, Worth

         Ross Management and Hammersmith Management are/were responsible for the

         condition and circumstances on the property.

      4. Plaintiffs are ‘invitees’ in accordance with C.R.S. § 13-21-115(5)(a).
                                             9 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25        USDC Colorado       pg
                                      10 of 31




   5. Defendants, Alan S Marks, Atty. Jonathan A Marks, Hammersmith Management,

      and Candlewyck HOA had a duty to exercise reasonable care to protect against

      any danger of which they each had constructive and actual knowledge, to carry

      out activities in a reasonable, safe manner, and to warn Plaintiffs of the

      dangerous conditions as pursuant to C.R.S. § 13-21-115.

   6. Defendants, Alan S Marks, Atty. Jonathan A Marks’, Hammersmith

      Management, and Candlewyck HOA’s have constructive and actual knowledge of

      the dangerous condition of the toxic fumes existing within their premises until

      this day, caused Plaintiffs to incur pain and suffering, injuries, damages, harms,

      and losses.

   7. Defendants, Alan S Marks, Atty. Jonathan A Marks, Hammersmith Management,

      and Candlewyck HOA had a duty to exercise reasonable care to protect Plaintiffs

      against dangers of which they actually had knowledge of, as evidence has proven.

   8. Defendants, Alan S Marks, Atty. Jonathan A Marks, Hammersmith Management,

      and Candlewyck HOA had a duty to exercise reasonable care to warn Plaintiffs

      against the toxic dangers, of which they actually had knowledge (as evidence has

      proven), which caused Plaintiffs’ pain and suffering, injuries, damages, harms,

      and losses.

   9. With Plaintiffs as invitees within the premises of the condo unit and the common

      grounds wherewith it sits, Defendants, Alan S Marks, Atty. Jonathan A Marks,

      Hammersmith Management, and Candlewyck HOA’s breach of the

      aforementioned duties, has caused Plaintiffs’ pain and suffering, damages,

      harms, and irreversible losses.


                                         10 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1 filed 03/21/25         USDC Colorado         pg
                                        11 of 31




#7

                                  CLAIM FOR RELIEF
                             5th & 14th Amendment Violations
                                Abuse of Process (Tort)
                        Atty. Jonathan A Marks & Alan S Marks


     1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

        claim.

     2. Evidence proves that Attorney Jonathan A Marks has misrepresented his oath to

        uphold his duties and responsibilities in performing his role as an officer of the

        Court as identified in the following claims.

     3. Defendant Atty. Jonathan A Marks, by and through his Counsel, used the FED

        eviction process as one of several retaliatory acts (between he and his father, Alan

        S Marks (estate)) to prevent Plaintiffs from litigating the merits of our case

        against them regarding the aforementioned claims of toxic sewer gas exposure.

     4. Defendants Atty. Jonathan A Marks, by and through his Counsel, committed

        perjury under oath in a July 2023, FED trial against Plaintiffs, stating that

        Plaintiffs refused to pay rent, while evidence proved his refusal to accept

        payments from Plaintiffs as well as any rental assistance on our behalf for nine

        months, totaling over $20,000.00. This eviction led to undue prejudices towards

        Plaintiffs to include but not limited to homeless even until this day.

     5. Defendants Atty. Jonathan Marks and Alan S Marks (estate) lack evidence in the

        record to support any affirmative defenses or allegations or material facts for any

        of claims against Plaintiffs, inter alia, as they bear the burden of proof for each of

        them. Defendants Marks have committed acts of bad faith conduct through their

        acts of withholding evidence.
                                           11 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1 filed 03/21/25        USDC Colorado          pg
                                        12 of 31




#8                                CLAIM FOR RELIEF
                             5th & 14th Amendment Violations
                                 Abuse of Process (Tort)
            Atty. Jonathan Marks & Atty. Amy L Twohey & Zupkus & Angell


     1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

        claim.

     2. Evidence proves that Attorney Amy L Twohey has misrepresented her oath to

        uphold her duties and responsibilities in performing her role as an officer of the

        Court as identified in the following claims.

     3. On June 1, 2023, Defendants Atty. Jonathan A Marks, by and through his

        Counsel, emailed Plaintiffs about accepting an offer Marks was proposing to us

        and that we had one week to decide.

     4. Evidence shows that in that email, Counsel Towhey threatened that if we did not

        accept Marks’ offer and release him from the lawsuit, further legal action against

        us would ensue.

     5. Defendants Atty. Jonathan A Marks, by and through his Counsel, committed an

        unlawful use of Plaintiffs’ e-signatures. Evidence shows that upon our

        questioning of her actions, Counsel Twohey argued that if we complained it

        would be considered frivolous. She also issued threats of litigation and additional

        attorney’s fees if we did file a Motion.

     6. Evidence proves that Defendants Atty. Jonathan A Marks, by and through

        Counsel Twohey, committed felonious activity in litigation, which has been

        officially confirmed by the Denver Police Dept. as a “Class 5 Felony” of forgery

        and thereby, has been placed on public record as evidence. This act constitutes a
                                         12 of 31
Case No. 1:25-cv-00918-RTG             Document 1-1 filed 03/21/25     USDC Colorado       pg
                                            13 of 31




        severe abuse of process and obstructions of justice.

     7. In July 2024, before litigation was over (September 2024), Atty. Jonathan A

        Marks sold his and Alan S Marks’ (estate) condo unit. The Same unit that

        Plaintiffs resided in and was exposed in the air and within the sewer and water

        pipelines as evidence have proven.

     8. The last time the unit was tested for the gases was in March 2024 by Plaintiffs’

        retained expert environmental and industrial hygienist, Jeff Pothast who

        discovered the gases which were still at peak levels of Methane and H2S within

        the unit, even 6 months after Plaintiffs had been evicted. Mr. Pothast’s report of

        his finding are in the record.

     9. The repairs had still not been made when Atty. Marks was allowed by the Court

        and his Counsel, to sell it.



#9                                  CLAIM FOR RELIEF
                              5th & 14th Amendment Violations
                                  Obstruction of Justice
                            The Withholding of Evidence as
                           Ordered & Requested in Discovery
            Atty. Jonathan Marks, Atty. Amy L Twohey & Zupkus & Angell,
            Atty. Jonanthan Carlson & Victor Sulzer & Tschetter & Sulzer


     1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

        claim.

     2. Evidence proves that Jonanthan Carlson & Victor Sulzer have misrepresented

        their oaths to uphold their duties and responsibilities in performing their role as

        officers of the Court as identified in the following claims.

     3. Defendant, Atty. Jonathan A Marks, by and through his Counsel Amy L. Twohey,

                                             13 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25        USDC Colorado           pg
                                      14 of 31




      committed spoliation of evidence by deliberately altering a material evidence (the

      HVAC unit) within the condominium during discovery at the instruction of his

      counsel, even after Plaintiffs requested the preservation of it and all other items

      within the condo unit.

   4. Defendant, Atty. Jonathan A Marks, by and through Counsel Twohey, along with

      the other Counsel for Defendants in this case, committed civil conspiracies

      against Plaintiffs by showing agreement to take action in preventing Plaintiffs

      from litigating the merits of our case.

   5. Defendant, Atty. Jonathan A Marks, by and through Counsel Towhey, violated

      Colorado Rules of Evidence (CRCP 26) in discovery and disobeyed Court’s Pre-

      Trial Order of discovery without explanation while in discovery dispute.

   6. Plaintiffs’ Primary Care doctors became aware of our exposures to the poisonous

      gases and based on the evidence that proved we had been exposed to noxious

      sewer gases; they each referred us to the same local team of toxicologists

      specialists as well as relying upon the Fletcher Society Guidelines and based on

      the symptoms of Mr. Smith.

   7. However, several months after we had supplemented the name and contact

      information of the toxicologists’ office into discovery, and having multiple

      conversations and appointments set up and scheduled with the toxicologists,

      Counsel for Defendants Marks, Counsel Twohey informed Plaintiffs, that she had

      ‘retained’ that office and that they would not be servicing us.




                                         14 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25          USDC Colorado    pg
                                      15 of 31




   8. The record proves that due to Counsel Twohey interference, Plaintiffs were

      grossly prejudiced. Counsel Twohey obstructed the efforts of our physicians to

      have us tested by the toxicologists.

   9. In June 2023, Defendant Atty. Jonathan A Marks, by and through Counsel

      Towhey, enjoined Atty. Jonathon Carlson and Victor Sulzer of Tschetter & Sulzer

      to defend for the FED.

   10. Upon engaging with Plaintiffs in an email, Counsel Carlson committed an abuse

      of process by threating further legal proceedings against us if we did not pay the

      rent that his client, Atty Jonanthan Marks, had refused for almost one year in

      order to say Plaintiffs would not pay so as to file eviction against us.

   11. In the same email to Plaintiffs, Defendant Atty. Jonathan A Marks, by and

      through Counsel, Carlson also committed an abuse of process by threatening

      further legal proceedings against us if we did not remove Atty. Jonathan A Marks

      and Alan S Marks from the lawsuit by the end of business on a certain day of the

      week in September 2023, just prior to the date of the FED.

   12. When Plaintiffs did not comply with Counsel’s threats, the FED commenced and

      we were forced from our home at the condominium on September 13, 2023,

      which resulted in the loss of our possessions and being homeless, even today.



#10                               CLAIM FOR RELIEF
                            5th & 14th Amendment Violations
                                Obstruction of Justice
                           The Withholding of Evidence as
                          Ordered & Requested in Discovery
           Candlewyck HOA, Worth Ross Mgmt. & Hammersmith Mgmt.,
            & Atty. David O. Hansen & Kumpf, Charsley & Hansen P.C.



                                         15 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado       pg
                                      16 of 31




   1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

      claim.

   2. Evidence proves that Attorney David O. Hansen has misrepresented his oaths to

      uphold his duties and responsibilities in performing his role as an officers of the

      Court as identified in the following claims.



   3. Defendants, Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Atty. David Hansen violated Rule 37 - Failure to

      Make Disclosure & Cooperate in Discovery.



   4. Defendants, Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, obstructed justice by failure to

      disclose according to Court order; falsifying or misleading disclosure and their

      refusal to respond to Plaintiffs’ requestion for admissions.



   5. Defendants, Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, obstructed justice by collectively

      meeting all elements of sanctions.

   6. On September 19, 2023, Counsel Hansen opposed Plaintiffs’ conferral of a

      Motion to Show Cause for Counsel Twohey’s proven felonious act in completing a

      felony” of forgery.



   7. Defendants, Candlewyck HOA, Hammersmith Management, and Worth Ross


                                         16 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25        USDC Colorado         pg
                                      17 of 31




      Management, by and through Counsel Hansen, severely prejudiced Plaintiffs

      from litigating the merits of our case, including the opportunity for a favorable

      mediations.



   8. Had Defendants Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management made full disclosure at the onset of the Discovery process or even

      later when Plaintiffs made discovery requests of them, Plaintiffs’ litigation

      against Defendants Candlewyck HOA, Hammersmith Management, and Worth

      Ross Management would likely have ended based on the evidence disclosed by

      them.



   9. Instead, by having no consideration of the interest of Justice, Defendants

      Candlewyck HOA, Hammersmith Management, and Worth Ross Management

      along with Counsel Hansen, have grossly absorbed the time and efficiency of the

      Court.

   10. Defendants Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, committed maleficence with bad

      faith discovery practices in performing investigations in the absence of Plaintiffs

      on multiple occasions, as well as misrepresenting CDARA investigations in secret.



   11. Defendants Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, were aware of Counsel Twohey’s

      improprieties during the CMO by not honoring their oath as attorneys and not


                                         17 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado          pg
                                      18 of 31




      protecting Plaintiffs’ constitutional rights.



   12. Defendants Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, participated in the obstruction of

      justice by frivolously disagreeing with every motion conferred by Plaintiffs

      without any legal reasoning or validity.

   13. Defendants Candlewyck HOA, Hammersmith Management, and Worth Ross

      Management, by and through Counsel Hansen, knowingly participated in

      Scorched Earth litigation against Plaintiffs under lead Counsel Twohey.


   14. Defendants Hammersmith Management, and Worth Ross Management, under

      the governance of Candlewyck HOA, by and through Counsel Hansen, were

      destructive to our rights to life, liberty and possessions of property as they have

      continued in the actual and constructive knowledge of the unsafe habitability of

      the condominium unit Plaintiffs were being exposed to even prior to our taking

      up residence therein to date.



#11                              CLAIM FOR RELIEF
                            5th & 14th Amendment Violations
                                Obstruction of Justice
                          The Withholding of Evidence as
                         Ordered & Requested in Discovery
         Adolfson and Peterson Construction & Front Range Roofing Systems,
             & Atty. Adam P. O’Brien & Atty. Christy Zahradnik-Mitchell
        (formally known as Christy N. Redmond) & Thompson, Coe, Cousins, &
          Irons, LLP (formally known as: Wells, Anderson & Race, LLC)


   1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

      claim.
                                          18 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado          pg
                                      19 of 31




   2. Evidence proves that Attorney Adam P. O’Brien & Attorney Christy Zahradnik-

      Mitchell have misrepresented their oaths to uphold their duties and

      responsibilities in performing their role as officers of the Court as identified in

      the following claims.

   3. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing

      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-Mitchell

      violated Rule 37 - Failure to Make Disclosure & Cooperate in Discovery.



   4. On June 5, 2024, Counsel for Defendants FRR & AP emailed Plaintiffs a third

      (3rd) Supplemental discovery disclosure. Given the relevant evidence already in

      the record by Plaintiffs, in addition to the newly supplemented Two Hundred and

      Forty-Two (242) pictures from Counsel for Defendants FRR & AP (and other

      discovery still not provided), while their expert deliberately omitted in his report

      and never once opined on the 242 pictures during discovery.

   5. Their experts deliberate omission severely prejudiced Plaintiffs in litigating the

      merits of our case, including the opportunity for a favorable mediations.

   6. Defendants FRR & AP and their Counsel have collectively met all elements of

      sanctions by being in agreement with lead Counsel’s felonious act in completing a

      “Class 5 Felony” of forgery.

   7. On September 19, 2023, Counsel O’Brien and Counsel Zahradnik-Mitchell

      opposed Plaintiffs’ conferral of a Motion to Show Cause for Counsel Twohey’s act

      without a valid or legal basis for their opposition.

   8. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing


                                         19 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado       pg
                                      20 of 31




      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-

      Mitchell, also committed maleficence with bad faith discovery practices in

      performing investigations in the absence of Plaintiffs on multiple occasions, as

      well as misrepresenting CDARA investigations in secret.

   9. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing

      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-

      Mitchell, were also aware of Counsel Twohey’s improprieties during the CMO by

      not honoring their oath as attorneys and not protecting Plaintiffs’ constitutional

      rights.

   10. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing

      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-

      Mitchell, were destructive to our rights to life, liberty as they had actual and

      constructive knowledge of the broken vent pipe within the wall of the condo unit,

      which is known within their industry, to constitute an unsafe living environment

      with the condominium unit where Plaintiffs were being exposed sewer gas fumes.

   11. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing

      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-

      Mitchell, had actual and constructive knowledge even prior to Plaintiffs taking up

      residence therein.

   12. Defendants, Adolfson and Peterson Construction (AP) & Front Range Roofing

      Systems (FRR), by and through Counsel O’Brien and Counsel Zahradnik-

      Mitchell, knowingly participated in Scorched Earth litigation against Plaintiffs

      under lead Counsel Twohey.


                                         20 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25          USDC Colorado        pg
                                      21 of 31




#12                               CLAIM FOR RELIEF

                               42 U.S.C. § 1983, 1985, 1986

                        Obstruction of Justice, Abuse of Process,

                         & Violation of Procedural Due Process

                                  Under Color of Law

                               Justice Jon Jay Olafson

      1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of

         this claim.

      2. Evidence proves that pursuant to Rule 2.11 (A)(1) in the COLO. CODE. JUD.

         COND. of the United States, Judge Jon Jay Olafsen has misrepresented his

         oaths to uphold his duties and responsibilities in performing his role as a

         judiciary of the State Court of Colorado of the United States of America, as

         identified in the following claims.

      3. The Honorable Judge Olafson replaced Judge Egelhoff in December 2023.

      4. Partiality had been evident during the litigation of Plaintiffs’ since its

         inception. Counsel for Defendants were allowed to bend and break the same

         rules that Plaintiffs were being held to include granted hearings and favorable

         rulings without Defendants first proving and gaining a favorable termination

         in this case while each of Plaintiffs hearing requests have all been vacated or

         ignored without proper cause.

      5. During Status Conference meetings, Plaintiffs were limited by the Court as to

         how much we are allowed to speak or respond to what is being said against us

         by being ordered to “just answer yes or no” by the Court.


                                         21 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25          USDC Colorado          pg
                                      22 of 31




      6. Bias on behalf of the Court within the judicial process of this lawsuit has also

         been apparent since its inception. At the July 30, 2024, another status

         conference meeting, the Court reprimanded Plaintiffs for filing a legal and

         lawful report complaint against Counsel for Defendants Marks, Amy Twohey

         for violating our 14th amendment rights.

      7. Counsel for Defendants had used Plaintiffs’ electronic signatures without our

         express or implied permission.

      8. Afterwards, in its reprimand of Plaintiffs, the Court asserted that Plaintiffs

         were uncivilized (acted without civility) for filing sanctions against Counsel

         and for reporting the act, which was performed against us.

      9. Counsel Twohey was not scolded for threatening prosecution against

         Plaintiffs, and asked the Court to dismiss our case with prejudice.

      10. Although Counsel Twohey was the individual who violated Rule 4.5(a) of the

         Colo. R. Prof’l. Cond. against Plaintiffs, the Judge Olafson asked Counsel what

         she wanted him to do to Plaintiffs and if she had any legal citing that she

         could use in her sanctions against Plaintiffs.

      11. These actions from the Court had the appearance of offering legal advice to

         Counsel Twohey from which she later submitted an addendum to her original

         motion for sanctions against us, adding in legal citings as suggested to her

         from the bench.

      12. Judge Olafson demonstrated a bent of mind in that he would not allow

         Plaintiffs to bring the full scope of all our controversial claims before a jury.

         Given the relevant evidence, testimonies, affidavits, legal citings, and motions,


                                         22 of 31
Case No. 1:25-cv-00918-RTG      Document 1-1 filed 03/21/25         USDC Colorado       pg
                                     23 of 31




         which Plaintiffs have filed, the Court was bent on allowing all Defendants and

         their Counsel to prevail with an unfair outcome for Plaintiffs at trial.

      13. Evidence proved that Defendants by and through their Counsel, had been

         untruthful, and while Defendants Marks had been allowed to perjure on the

         witness stand, the Court continued to protect his falsehoods, with no

         evidentiary proof in the record instead of allowing the truth to prevail.

      14. The record is evidence that all Defendants lack supported evidence to prove

         any of their affirmative defenses and allegations by misrepresentations and

         omissions, which constituted fraud upon the Court.

      15. While being aware of these matters, the Court made rulings for Summary

         Judgement in favor of all Defendants.

      16. Judge Olafson admitted to being in a ‘legal quandary; continued in granting

         summary judgement to FRR & AP of whom he could find no established

         evidence on the record where they had disproven Plaintiffs’ allegations nor

         produced any evidence in support of their own allegations, or affirmative

         defenses against Plaintiffs.

      17. In June 2024, Judge Olafson granted Summary Judgement, without

         considering how it was intervening the offer of judgement (settlement) on

         June 14, 2024.

      18. On more than one occasion, Plaintiffs brought to Judge Olafson’s attention

         that a Summary Judgement does not void an offer of judgement process

         between Plaintiffs and Defendants FRR & AP (which was already in progress),

         but that the offer of judgment should be an addition to the default judgement


                                        23 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado       pg
                                      24 of 31




         of punitive damages/sanctions for violating the discovery rules in evidence,

         inter alia.

      19. However, Judge Olafson overlooked and ignored Plaintiffs’ acknowledgment

         of this law. He never responded.

      20. On June 10, 2024, prior to trial, Judge Olafson reset Plaintiffs 5-day trial date

         scheduled for June 24, 2024, because of Counsel Twohey’s alleged family

         emergency, claiming that she would not be able to litigate or be in touch

         during the extenuating circumstances.

      21. The situation held up the trial date by almost two months (even though

         counsel had a partner; Atty. Wang, working by her side throughout the

         litigation, who could have performed in her stead.

      22. The allegation had the appearance of attorney influence and conspiracy based

         on the full scope of the matters at hand.

      23. Interestingly, while away within those two weeks, Counsel Twohey litigated

         the En Limine process while working with the Judge Olafson in dismissing all

         40 of our witnesses, including doctors, therapists, and experts.

      24. Based on the foregoing reasons, on September 5, 2024, Plaintiffs’ Motioned

         that Justice Jon Jay Olafson (acting in civility and in upholding the law)

         recuse himself from further Presiding in Plaintiffs’ case (2023CV030842).

      25. Additionally, Plaintiffs Motioned to Stay trial proceedings scheduled for Sept

         9, 2024, until all original claims within Plaintiffs’ lawsuit and all matters

         stated within the motion were given an unbiased review and a new trial date

         were given.


                                         24 of 31
Case No. 1:25-cv-00918-RTG        Document 1-1 filed 03/21/25            USDC Colorado    pg
                                       25 of 31




      26. Counsel for Defendants opposed the motion upon conferral and Judge

         Olafson without proper cause and without addressing our motion (supported

         by our affidavits) point-for-point, Judge refused to duly consider Plaintiffs’

         Motion to Recuse.

      27. On September 9, 2024, the date of the new trial, Plaintiffs were forced into

         signing a menial settlement agreement.

      28. The jurors had already been chosen when Plaintiffs arrived and the

         assortment just did not seem fairly selected.

      29. Counsel Twohey approached Plaintiffs and informed that the Court of Appeals

         had just granted Defendants Marks attorney’s fees against us.

      30. Counsel Twohey then offered a $5000 settlement, stating if we agreed to sign,

         her client, Defendants Marks, would drop the attorneys fees (~$20,000.00).

      31. Along with the pressure of finding out that the Court had just taken away our

         last few witnesses and that our key cross-witness “would not be at trial today”,

         Plaintiffs’ fear of not having a fair trial had come to pass.

      32. With the appearance of things, we were severely under duress, so much that

         Mrs. Smith could barely stay in the Courtroom long enough to sign the papers

         for having to run to the ladies room in tears.

      33. The circumstances surrounding that day of trial, on September 9, 2024,

         created an emotional distress for us both.

      34. We settled due to coercion, threats and misrepresentation and although we

         notified the Court, the jury was selected before we entered the court as we had

         been slightly delayed.


                                         25 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25         USDC Colorado        pg
                                      26 of 31




      35. Having no other choice, we were forced to settle under duress and due to

         homelessness, which was caused by the prejudices of the FED eviction,

         Plaintiffs were compelled to agree to settle on the day of trial.

      36. In January 2025, Plaintiffs learned two things, (1) that the Court of Appeals

         had not granted attorney’s fee to Defendants Marks. Counsel Twohey had

         used her misrepresentation to pressure us from going forward with trial that

         day. (2) that Judge Olafson had not actually completed the litigation and that

         he ruled it ‘without prejudice’.

      37. We are now refiling our case with the US Federal Court today for all the

         aforementioned claims.




#13                              CLAIM FOR RELIEF

                               42 U.S.C. § 1983, 1985, 1986

                       Obstruction of Justice, Abuse of Process,

                         & Violation of Procedural Due Process

                                  Under Color of Law

                              Justice Martin F Egelhoff

   1. Plaintiffs incorporate all other paragraphs of this Complaint for purposes of this

      claim.

   2. Evidence proves that pursuant to Rule 2.11 (A)(1) in the COLO. CODE. JUD.

      COND. of the United States, Judge Martin F Egelhoff has misrepresented his

      oaths to uphold his duties and responsibilities in performing his role as a

      judiciary of the State Court of Colorado of the United States of America, as
                                         26 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25        USDC Colorado        pg
                                      27 of 31




      identified in the following claims from June 2023 through December 2023.

   3. The Honorable Judge Egelhoff was removed in December 2023 and Judge

      Olafson presided in his stead.

   4. Upon the initial consolidation of our case as Pro Se, Counsel Twohey requested

      Judge Egelhoff over Judge Sarah Wallace for a reason Plaintiffs knew not of.

   5. Based upon Plaintiffs’ legal interactions with the court within the first 8 months

      of litigating, we began to reason why Judge Egelhoff was requested.

   6. Plaintiffs quickly began to notice behaviors from Judge Egelhoff that had the

      strong appearance of bias towards Plaintiffs and an even stronger appearance of

      favor towards the Counsel for our Defendants.

   7. The unfairness we experience from Judge Egelhoff seem to violate our

      Constitutionally Protected Rights.

   8. Plaintiffs witnessed certain comments Judge Egelhoff made towards us like: “You

      can’t live there for FREE forever” which was not our aim.

   9. Plaintiffs had made many attempts over a ten (10) month period to get Defendant

      Marks to accept rental payments from us and through rental assistance, yet he

      refused them all.

   10. Plaintiffs perceived Judge Egelhoff’s comment to be discriminatory and

      stereotypical in nature and that his bias towards us played a strong part in his

      decision for a “speedy trial” (as requested by Counsel for Defendants Marks) for

      the FED.

   11. The FED preceding should not have been heard by which we are now severely

      disadvantaged in litigating the merits of our lawsuit.


                                        27 of 31
Case No. 1:25-cv-00918-RTG      Document 1-1 filed 03/21/25        USDC Colorado         pg
                                     28 of 31




   12. Plaintiffs have also observed decisions made by Judge Egelhoff while

      disregarding practically every motion we entered; like not taken action on our

      Motions until after a favorable decision was made in favor of Defendants Marks.

   13. During the FED process and then after Judge Egelhoff’s granting thereof,

      Plaintiffs filed several motions for Emergency Stay, Reconsideration, and Show

      Cause.

   14. The only motion that was not vacated or ignored without any conclusion given

      was the Motion to Stay where Judge Egelhoff denied it stating that we had not

      conferred. When we actually had conferred and received opposition for the

      opposing Counsel. Who, when they received Judge Egelhoff’s reasoning (knowing

      that time was ticking), did not step in and admit that we actually had conferred

      but that we had failed to mention their opposition within our Motion.

   15. At the same time, we noticed that each of our Defendants’ Motions were ruled

      upon and granted in a timely manner, even though we complained of their non-

      compliance to properly confer with us.

   16. With regards to our 1st Amended Complaint (which was served on June 19, 2023),

      we entered a Motion for Default Judgement on July 21, 2023, as Defendants AP

      & Front Range withheld their responses and did not answer until August 8, 2023,

      without explanation. Their answer was not in compliance with the time frame

      provided by the rule CRCP 12(a)(1) and Judge Egelhoff did not take an action on

      our Motion until August 2023.

   17. Judge Egelhoff’s behavior also showed during the time of the 26(a)(1 )

      disclosures, when lead Counsel, Amy Twohey, did not submit disclosures until


                                        28 of 31
Case No. 1:25-cv-00918-RTG       Document 1-1 filed 03/21/25        USDC Colorado         pg
                                      29 of 31




      September 28, 2023, without explanation.

   18. In our research, Plaintiffs later learned that Counsel Twohey had another 5-day

      trial that she attended, which was why she was in non-compliance of the rule of

      the CMO. Yet no one ever mentioned this nor explained or even apologized her

      reasoning.

   19. Per the “new” at issue date (for which she could not justify not going by the

      original at issue date), the original at issue date was August 9, 2023, meaning

      that the original date of disclosure was set for September 6, 2023, as we had all

      agreed to and performed accept Counsel Twohey.

   20. Let the record show that when we address the matter at the CMO Conference,

      Judge Egelhoff very sharply replied, “Well, they’re all in aren’t they?

   21. We conferred with all Counsel that we were planning to enter a Motion to Show

      Cause and requested a hearing for Counsel Twohey’s actions.

   22. Counsel Twohey said it wouldn’t be heard and she was right (how would she

      know this?)

   23. Our Motion was ignored and not heard, just as she warned.

   24. While we were busy handling the execution of Defendants Marks’ FED eviction

      from the condo unit, Lead Counsel forged our e-signatures on the Proposed

      CMO.

25. At the time of the eviction, Counsel Twohey (being fully aware that the eviction was

   happening at the time) gave a 4-hour window of time to respond to an email

   wherein she advised that if we did not send her our signed agreements to the

   Proposed CMO, she would sign our signatures herself.


                                         29 of 31
Case No. 1:25-cv-00918-RTG        Document 1-1 filed 03/21/25         USDC Colorado         pg
                                       30 of 31




26. The 4-hour window was not a good faith conferral. Instead, it was more like Counsel

   Twohey was exploiting us while executing an abuse of process (the FED eviction)

   according to the Uniform Electronic Transactions Act.

27. Later, once we became aware of the email and that she had acted as our

   attorney/representative and signed our names, we saw that every other Counsel for

   the Defendants were included and received the same email and did nothing to halt

   Counsel Twohey from doing the action.

28. Pertaining to the Proposed CMO, submitted by Counsel Twohey, her statements that

   had no merit of truth regarding Marks’ being cleared of Habitability violations (of

   which he did not even plead). To this we would have objected and would not have

   signed the Proposed CMO had we known about it that day, until it was corrected.

29. At the Case Management Meeting on October 10, 2023, we addressed our concern

   with her exploitation towards us and Judge Egelhoff not reprimand her nor even ask

   her to give cause for what is known as a criminal activity. Counsel Twohey’s actions

   has since caused us undue pain & suffering in our pursuit of justice.

30. Judge Egelhoff’s bias and acts of what looks like prejudices of allowing such acts as

   Counsel Twohey’s and the other Counsel’s led to our state of homelessness,

   dependent adult son who suffers from physical and mental disabilities, had to be

   sent to live with family members over 1200 miles away in another state.

31. As Plaintiffs in this case and having a jury demands on record, the FED proceeded

   without a jury present; despite us also including the demand explained in our

   Memorandum, Motions, and Answer.

32. As Pro Se Plaintiffs, we understand the expectation of being held to the rules of civil


                                          30 of 31
Case No. 1:25-cv-00918-RTG         Document 1-1 filed 03/21/25          USDC Colorado      pg
                                        31 of 31




   procedures, yet at the same time, and in our observation, we could see Judge

   Egelhoff’s lack of holding Counsel for the Defendants accountable to the expected

   proper conduct and principles that they should be with respect to the rights of all

   parties involved.

33. It is disheartening to watch the attorneys in this lawsuit be allowed to represent their

   clients who make allegations of affirmative defenses against us with no evidentiary

   proof of support being brought forward and no one challenges it to keep the

   litigation playing field fair within this lawsuit.

34. We now quote the message of Dr. King during our time of unjustifiable

   homelessness, “Injustice anywhere is a threat to injustice everywhere.”



WHEREFORE, Plaintiffs desire to litigate the merits of our original case in fairness, to
be able to prove our evidence, allegations against all named parties and the use of our
witnesses and all discovery in front of a jury.
Plaintiffs pray for judgement against ALL Defendants named herein in an amount and
or remedy to be determined at trial, for damages, losses, pre- and post-judgement
interest, costs, expert, witnesses, fees, and for such other and further relief as the Court
may deem proper.
Respectfully Submitted;
Date: March 20, 2025

                                                        /s/ Sanford Smith, Jr. – UCC 1-308
                                                        Sanford Smith, Jr., Pro Se

                                                           _/s/ Angela Smith_- UCC 1-308
                                                            Angela Smith, Pro Se
                                                                    8601 W. Cross Dr. F5
                                                                    #201
                                                                    Littleton, CO 80123
                                                                    Ph: 770-755-2184

                                           31 of 31
